Case 2:23-cv-02000-WSS   Document 11-17   Filed 11/20/23   Page 1 of 2




              EXHIBIT Q
           Mesiti Declaration
    Infringing Product Type 1 Chart
         Case 2:23-cv-02000-WSS   Document 11-17   Filed 11/20/23   Page 2 of 2


THE CLOSEST COMPARATIVE DESIGNS, THE DESIGN CLAIMED IN THE `526 PATENT,
                 AND DEFENDANTS’ INFRINGING PRODUCT TYPE 1
                                                         Infringing Design
         ‘924 Design      ‘446 Design    Patented Design
                                                               Type 1
Front
Back
First Side
Second Side
Top
Bottom
